Case 0:22-cr-60028-WPD Document 32 Entered on FLSD Docket 07/25/2022 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 22-60028-CR-DIMITROULEAS/SNOW

  UNITED STATES OF AMERICA

  v.

  LUKE JOSELIN,

        Defendant.
  __________________________________/

       GOVERNMENT=S NOTICE OF INTENT TO OFFER CERTIFIED RECORDS INTO
            EVIDENCE PURSUANT TO FEDERAL RULE OF EVIDENCE 902

           The government submits this notice, pursuant to Federal Rules of Evidence 902(1), (2), (4)

  and (11), to offer into evidence the following certified records without calling a records custodian.

  These records and the accompanying certifications have been or will be provided to the defense:

           1. Certified Driver and Vehicle Information Database (“DAVID”) records for Luke
              Joselin;

           2. Florida Department of State, Division of Corporations records for (1) 24Hour Printing
              Inc; (2) Hug a Print LLC; (3) Skicas LLC; and (4) Pricerite LLC;

           3. Paycheck Protection Program (“PPP”) loan records from BlueVine Capital Inc.;

           4. PPP loan records from KServicing Corporation, f/k/a Kabbage, Inc.;

           5. Mortgage loan records from First Savings Bank;

           6. Bank records from (1) Pentagon Federal Credit Union; (2) BBVA USA; (3) Tropical
              Financial Credit Union; (4) Discover Products, Inc.; (5) JPMorgan Chase Bank, N.A.;
              and (6) Wells Fargo Bank, N.A.;

           7. Internet service provider subscriber records from (1) AT&T; (2) Blue Stream
              Communications, LLC; and (3) Comcast Cable Communications, LLC; 1

           8. Email account subscriber records from Google LLC;



  1
      A records certification from Blue Stream Communications, LLC, remains pending.
Case 0:22-cr-60028-WPD Document 32 Entered on FLSD Docket 07/25/2022 Page 2 of 3




         9. Cellular telephone subscriber records from: (1) Verizon; and (2) T-Mobile;

         10. United States Small Business Administration (“SBA”) Economic Injury Disaster Loan
             (“EIDL”) records for (1) 24Hour Printing, Inc.; (2) Hug a Print LLC; (3) Skicas LLC;
             and (4) Pricerite LLC. 2

                                                    Respectfully submitted,

                                                    JUAN ANTONIO GONZALEZ
                                                    UNITED STATES ATTORNEY


                                             By:
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    These SBA EIDL records are the subject, in part, of the separately filed Notice of Intent to
  Introduce Evidence Pursuant to the Inextricably Intertwined Doctrine and Rule 404(b).
Case 0:22-cr-60028-WPD Document 32 Entered on FLSD Docket 07/25/2022 Page 3 of 3




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 25, 2022, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF.


                                              s/ Kiran N. Bhat
                                              Kiran N. Bhat
                                              Assistant United States Attorney
